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11
                            IN THE UNITED STATES DISTRICT COURT
12
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
13

14   STATE OF CALIFORNIA, et al.,                 Case No. 3:20-cv-03005-RS

15                       Plaintiffs,              BRIEF OF AMERICAN FISHERIES
                                                  SOCIETY, ASSOCIATION FOR THE
16                                                SCIENCES OF LIMNOLOGY AND
            v.                                    OCEANOGRAPHY, COASTAL AND
17                                                ESTUARINE RESEARCH FEDERATION,
     MICHAEL REGAN, et al.,                       INTERNATIONAL ASSOCIATION FOR
18                                                GREAT LAKES RESEARCH, NORTH
                         Defendants,              AMERICAN LAKE MANAGEMENT
19                                                SOCIETY, PHYCOLOGICAL SOCIETY
            and                                   OF AMERICA, SOCIETY FOR
20                                                ECOLOGICAL RESTORATION,
     STATE OF GEORGIA, et al.,                    SOCIETY FOR FRESHWATER
21                                                SCIENCE, AND SOCIETY OF WETLAND
                         Defendant-Intervenors.   SCIENTISTS AS AMICI CURIAE IN
22                                                SUPPORT OF PLAINTIFFS’ PARTIAL
                                                  OPPOSITION TO DEFENDANTS’
23                                                MOTION FOR REMAND WITHOUT
                                                  VACATUR
24
                                                  Hearing Date:   September 9, 2021
25                                                Time:           1:30 p.m.
                                                  Dept:           San Francisco Courthouse,
26                                                                Courtroom 03, 17th Floor
                                                  Judge:          Honorable Richard Seeborg
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                                                   AMICI CURIAE BRIEF OF SCIENTIFIC SOCIETIES
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 2     Jurisdictional Wetlands (2019), https://static1.squarespace.com/static/578f93e4cd0................. 5

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 1                                INTEREST OF THE AMICI CURIAE1

 2           Amici Curiae2 are nine national and international scientific societies, all actively involved
 3   in research, education, and the conservation and restoration of aquatic ecosystems and resources
 4   in the United States. Amici have an interest in this case because of the impact of the Navigable
 5   Waters Protection Rule, 85 Fed. Reg. 22,250 (Apr. 21, 2020) (NWPR), on the integrity of those
 6   ecosystems, their biodiversity, and their resources. As scientific societies, Amici support the use
 7   of the best available scientific information in making decisions on the use and management of
 8   aquatic ecosystems and resources.
 9           Amici’s interest here is not to make a policy argument or to compel the U.S.
10   Environmental Protection Agency and the U.S. Army Corps of Engineers (together, the Agencies)
11   to provide “all of the benefits for water quality the science suggests might be achievable.”
12   California v. Wheeler, 467 F. Supp. 3d 864, 875 (N.D. Cal. 2020) (emphasis in original). Their
13   interest rather stems from the mandate of Motor Vehicle Mfrs. Ass’n of the U.S. v. State Farm
14   Mut. Auto. Ins. Co., 463 U.S. 29 (1983), which requires that the Agencies properly consider the
15   scientific evidence that existed in the administrative record. Amici seek to explain why the
16   Agencies’ conceded failure to consider the NWPR’s impact on the integrity of the Nation’s
17   waters is a serious error that requires vacatur of the NWPR.
18                                              ARGUMENT

19           Vacatur upon remand is entirely appropriate here. Two factors control whether a court
20   should vacate a rule when remanding it back to an agency: the seriousness of the agency’s errors
21   and the disruptive consequences that an interim change may have. Cal. Cmties. Against Toxics v.
22
     1
23     Plaintiffs and Intervenor-Defendants do not oppose and Defendants take no position regarding
     the filing of this brief. Amici Curiae state that no counsel for a party authored this brief in whole
24   or in part, that no party or party’s counsel made a monetary contribution intended to fund the
     preparation or submission of this brief, and that no person—other than Amici Curiae, their
25   members, or their counsel—made a monetary contribution intended to fund the preparation or
     submission of this brief.
     2
26     Amici Curiae are American Fisheries Society, Association for the Sciences of Limnology and
     Oceanography, Coastal and Estuarine Research Federation, International Association for Great
27   Lakes Research, North American Lake Management Society, Phycological Society of America,
     Society for Ecological Restoration, Society for Freshwater Science, and Society of Wetland
28   Scientists (collectively, the Scientific Societies). Descriptions of the Scientific Societies are
     provided in Appendix A to this brief.
                                                         1
                                                           AMICI CURIAE BRIEF OF SCIENTIFIC SOCIETIES
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 1   U.S. EPA, 688 F.3d 989, 992 (9th Cir. 2012). A court should “leave an invalid rule in place only
 2   ‘when equity demands[.]’” Id. (quoting Idaho Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392, 1405
 3   (9th Cir. 1995)). Here, the Agencies’ failure to comply with the requirements of State Farm and
 4   the EPA’s regulations are serious errors in the rulemaking process that require vacatur.
 5   Furthermore, equity does not demand leaving the NWPR in place—quite the opposite. Vacatur
 6   will not be disruptive to the regulated community as the U.S. Army Corps of Engineers
 7   recognizes the validity of jurisdictional determinations for five years. Instead, vacatur will ensure
 8   that further negative impacts from the NWPR will be minimized.
 9          Concessions made in the course of these proceedings and the rulemaking record
            confirm that the Agencies ignored important aspects of the problem when they
10          promulgated the NWPR—a serious error requiring vacatur.
11          A bedrock tenet of administrative law is that, when engaging in rulemaking, an agency
12   must examine relevant data and provide a reasoned explanation for its decision. State Farm, 463
13   U.S. at 43. The U.S. Supreme Court recently reaffirmed that “[t]his requirement allows courts to
14   assess whether the agency has promulgated an arbitrary and capricious rule by ‘entirely fail[ing]
15   to consider an important aspect of the problem [or] offer[ing] an explanation for its decision that
16   runs counter to the evidence before [it].’” Little Sisters of the Poor Saints Peter & Paul Home v.
17   Pennsylvania, 140 S. Ct. 2367, 2383–84 (2020) (quoting State Farm, 463 U.S. at 43).
18          The potential harms or effects of an agency’s action are obviously an important aspect of
19   the problem. SecurityPoint Holdings, Inc. v. Transp. Sec. Admin., 769 F.3d 1184, 1188 (D.C. Cir.
20   2014) (vacating agency order where agency failed to consider potential harms of its changes). In
21   the present case, to assess the effects of the NWPR on the integrity of the Nation’s waters, the
22   Agencies needed to (A) determine the extent to which Clean Water Act jurisdiction would be
23   reduced and (B) consider the environmental impacts that would likely occur as a result. The
24   Agencies did neither. As such, the NWPR should be vacated upon remand.
25          A. The Agencies concede—and the rulemaking record establishes—that they failed to
               appropriately consider the extent to which the NWPR reduced Clean Water Act
26             jurisdiction.
27          During the preliminary injunction hearing before this Court, the Agencies boldly and
28   wrongly asserted that they were not required to consider the magnitude of the reduction in Clean
                                                     2
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 1   Water Act jurisdiction as part of the rulemaking process:
 2          THE COURT: … Does part of that process require the agencies to do some
            assessment of what -- what waters would have been protected under the existing
 3          regime and what will be lost under 2020? Do they have -- is that part of their
            process, or are they not required to do that?
 4
                                                    *       *   *
 5

 6          THE COURT: Okay. So I take it your answer is they’re not required to do it as
            part of their –
 7          MR. BRIGHTBILL: They’re not required to do it, Your Honor.
 8   Tr. Videoconference Proceedings 50–51, California v. Wheeler, 467 F. Supp. 3d 864 (N.D. Cal.

 9   2020). That position with respect to what information the Agencies must consider is not a mere

10   “policy disagreement”—it is in direct conflict with the mandate of State Farm.

11          The Agencies now make clear that one of their “substantial concerns” causing them to

12   seek remand in this case and initiate a new rulemaking is their “concern over the loss of waters

13   protected by the CWA” as a result of the NWPR. Declaration of Jaime Pinkham ¶ 10, June 9,

14   2021 (ECF 250-3) (Pinkham Decl.); Declaration of Radhika Fox ¶ 10, June 9, 2021 (ECF 250-2)

15   (Fox Decl.). This underscores Mr. Brightbill’s concession. When conducting the rulemaking, the

16   Agencies did not think they were required to assess the magnitude of the loss of protected waters

17   or the effect of that loss, and they did not undertake any meaningful effort to do so.

18          The rulemaking record itself establishes that the Agencies failed to adequately estimate

19   the magnitude of waters that would lose Clean Water Act protection under the NWPR. The

20   Agencies repeatedly claimed that they were “unable to quantify” the change in jurisdictional

21   coverage for at least seven separate categories of waters: tributaries, ephemeral streams, wetlands,

22   lakes, ponds, impoundments, and interstate waters. For example, the Agencies asserted the

23   following:

24         “[T]he agencies are not aware of any means to quantify changes in CWA jurisdiction with
25          any precision that may or may not occur as a result of this final rule.” Preamble to the
            Navigable Waters Protection Rule, 85 Fed. Reg. at 22,332.
26
           “[T]he agencies also did not use the NHD [National Hydrography Dataset] or NWI
27          [National Wetlands Inventory] to assess potential changes in jurisdiction as a result of the
            final rule.” Preamble to the Navigable Waters Protection Rule, 85 Fed. Reg. at 22,329.
28
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        “[T]he agencies are not aware of any map or dataset that accurately or with any precision
 1
         portrays the scope of CWA jurisdiction at any point in the history of this complex
 2       regulatory program.” Preamble to the Navigable Waters Protection Rule, 85 Fed. Reg. at
         22,332.
 3
        “[T]he agencies lack sufficient data to quantify the difference” of jurisdictional interstate
 4       waters under the 2019 Rule (Definition of “Waters of the United States”—Recodification
         of Pre-Existing Rules, 84 Fed. Reg. 56,626 (Oct. 22, 2019)) and the Navigable Waters
 5
         Protection Rule. U.S. EPA & Dep’t of the Army, Resource and Programmatic Assessment
 6       for the Navigable Waters Protection Rule: Definition of “Waters of the United States” 20
         (Jan. 23, 2020) (hereinafter Resource and Programmatic Assessment).
 7
        The Agencies are “unable to quantify the change in jurisdiction for tributaries[.]” Resource
 8       and Programmatic Assessment at 22.
 9
        The Agencies are “unable to approximate what percentage of currently jurisdictional non-
10       relatively permanent waters are ephemeral that will no longer be jurisdictional under the
         revised definition of ‘waters of the United States.’” Resource and Programmatic
11       Assessment at 22–23.

12      The Agencies are “unable to quantify” how many lakes and ponds will no longer be
         protected. Resource and Programmatic Assessment at 24.
13

14      The Agencies are “unable to quantify” the change in jurisdiction of impoundments
         compared to the baseline. Resource and Programmatic Assessment at 25.
15
        The Agencies are “unable to quantify” how many wetlands will no longer be protected.
16       Resource and Programmatic Assessment at 26–27.
17      The Agencies are “unable to . . . determine how many waters have been determined to
         meet an exclusion from the definition of ‘waters of the United States’ under the 2019
18
         Rule/Rapanos Guidance practice and are unable to quantify the magnitude of the changes
19       in jurisdiction due to these exclusions.” Resource and Programmatic Assessment at 30.
        The Agencies are “unable to quantify potential changes in jurisdiction as a result of the
20       final rule’s ditch exclusion.” Resource and Programmatic Assessment at 30.
21      The Agencies are “unable to quantify this change” for artificial lakes and ponds. Resource
         and Programmatic Assessment at 33.
22

23      The Agencies are “unable to quantify this change” for exclusions of “stormwater control
         features constructed in upland or in non-jurisdictional waters that convey, treat, infiltrate,
24       or store stormwater run-off.” Resource and Programmatic Assessment at 33.
25      The Agencies are “unable to quantify this change” for exclusions of “groundwater
         recharge, water reuse, and wastewater recycling structures.” Resource and Programmatic
26
         Assessment at 33–34.
27
        “As discussed further in this document, the final rule reduces the scope of federal CWA
28       jurisdiction over certain waters (e.g., some ephemeral streams, isolated wetlands, and
                                                    4
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            ditches) compared to prior regulations, although the agencies are unable to quantify these
 1
            changes with any reliable accuracy.” U.S. EPA & Dep’t of the Army, Economic Analysis
 2          for the Navigable Waters Protection Rule: Definition of “Waters of the United States” xi
            (Jan. 22, 2020) (hereinafter Economic Analysis).
 3

 4   The Agencies’ professed inability to quantify the NWPR’s effect on Clean Water Act jurisdiction

 5   points to the serious deficiencies of their action.3

 6           The seriousness of this error is highlighted by the fact that scientific tools were indeed

 7   available for the Agencies to assess the NWPR’s impact on Clean Water Act jurisdiction. For

 8   example, in January 2019, well before the Agencies promulgated the NWPR, GeoSpatial Services

 9   of Saint Mary’s University of Minnesota developed a Geographic Information System-based

10   model, called the “CWA Jurisdictional Scenario Model,” that compares the extent of Clean Water

11   Act protection for aquatic ecosystems under different regulatory scenarios.4 This tool, which was

12   part of the rulemaking record,5 is discussed in further detail in the Scientific Societies’ previous

13   brief.6 The Agencies, however, failed to use this or other scientific tools and data that were

14   available.

15           The Agencies’ failure to quantify the extent to which certain waters would lose protection

16   under the NWPR is a serious error. Without even an estimate of the extent of Clean Water Act

17   3
       Whatever analysis the Agencies may have conducted in connection with the Resource and
18   Programmatic Assessment and Economic Analysis is irrelevant because the Agencies now
     concede they did not rely on any such analyses when promulgating the NWPR. Pinkham Decl. ¶
19   12; Fox Decl. ¶ 12. Moreover, in the rulemaking record, the Agencies repeatedly emphasized that
     the information in the Resource and Programmatic Assessment (as well as the Economic
20   Analysis) “was not used by the [A]gencies to help determine the extent of their authority under
     the CWA.” U.S. EPA & Dep’t of the Army, Economic Analysis for the Navigable Waters
21   Protection Rule: Definition of “Waters of the United States” xi (Jan. 22, 2020).
     4
       Roger Meyer & Andrew Robertson, Clean Water Rule Spatial Analysis: A GIS-based Scenario
22   Model for Comparative Analysis of the Potential Spatial Extent of Jurisdictional and Non-
     Jurisdictional Wetlands (2019), https://static1.squarespace.com/static/578f93e4cd0
23   f68cb49ba90e1/t/5c50c0e988251bc68fe33388/1548796144041/Hewlett_report_Final.pdf.
     5
       At least 16 comment letters referenced and/or attached the CWA Jurisdictional Scenario Model
24   in response to the request for comments on the proposed 2020 Rule. See, e.g., Comment
     submitted by Barbara D. Underwood, Attorney General of New York, et al., to Andrew Wheeler,
25   Administrator, U.S. EPA, Revised Definition of “Waters of the United States,” Attachment A at
     21 (Apr. 15, 2019), https://oag.ca.gov/system/files/attachments/press-docs/comment-letter-final-
26   04-15-19-final.pdf.
     6
       Brief of American Fisheries Society, Association for the Sciences of Limnology and
27   Oceanography, Coastal and Estuarine Research Federation, International Association for Great
     Lakes Research, North American Lake Management Society, Phycological Society of America,
28   Society for Ecological Restoration, Society for Freshwater Science, Society of Wetland Scientists
     as Amici Curiae in Support of Plaintiffs’ Motion for a Preliminary Injunction or Stay, May 26,
                                                       5
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 1   contraction, the Agencies could not, and thus did not, conduct a meaningful assessment of the
 2   NWPR’s impacts on the integrity of the Nation’s waters. This error alone mandates vacatur upon
 3   remand.
 4          B. The Agencies concede—and the rulemaking record establishes—that they failed to
               appropriately consider the negative environmental impacts of the NWPR, as required
 5             by State Farm and EPA’s own regulations.

 6          When promulgating a rule, an agency must consider the likely positive and negative
 7   impacts of a rule. State Farm, 463 U.S. at 48. Accordingly, ignoring a rule’s negative impacts is
 8   grounds for vacatur. For example, in Stewart v. Azar, the U.S. District Court for the District of
 9   Columbia vacated the Health and Human Services Secretary’s waiver of several requirements of
10   expanded Medicaid because “[f]or starters, the Secretary never once mentions the estimated
11   95,000 people who would lose coverage, which gives the Court little reason to think that he
12   seriously grappled with the bottom-line impact on healthcare.” 313 F. Supp. 3d 237, 263 (D.D.C.
13   2018) (emphasis in original). Here, the impact on water quality by the NWPR’s reduction in
14   Clean Water Act jurisdiction is an important aspect of the rulemaking. Yet the Agencies failed to
15   meaningfully assess the NWPR’s impacts on water quality. Such an error in the rulemaking
16   process, now acknowledged by the Agencies, compels vacatur upon remand.
17          The Agencies concede in their motion for voluntary remand without vacatur that they
18   have significant concerns regarding their failure to adequately consider “the effects of the NWPR
19   on the chemical, physical, and biological integrity of the nation’s waters when determining the
20   limits of the specific definitional language ‘waters of the United States’ in the NWPR.” Pinkham
21   Decl. ¶ 14; Fox Decl. ¶ 14. The Agencies identify one such failure when they describe how they
22   failed to examine the effect on traditional navigable waters of excluding all ephemeral waters
23   from Clean Water Act protection. Id.
24          The seriousness of this failure is evidenced by how obvious the negative impacts of
25   excluding all ephemeral waters were to the scientific community, including EPA’s own Scientific
26   Advisory Board.7 The Agencies ignored unequivocal scientific research that had been part of the
27
     2020 (ECF 68) (Scientific Societies Brief).
     7
28     The EPA’s Scientific Advisory Board concluded that the proposed NWPR “lacks a scientific
     justification, while potentially introducing new risks to human and environmental health[.]”
                                                       6
                                                         AMICI CURIAE BRIEF OF SCIENTIFIC SOCIETIES
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 1   record for Clean Water Act rulemakings for years and that established that the loss of protected
 2   waters would likely have significant cumulative impacts on downstream waters. The Agencies
 3   now effectively concede these points. See Pinkham Decl. ¶ 20; Fox Decl. ¶ 20 (stating that
 4   “[e]phemeral streams, wetlands, and other aquatic resources provide numerous ecosystem
 5   services, and there could be cascading and cumulative downstream effects from impacts to these
 6   resources, including . . . effects on water supplies, water quality, flooding, [and] drought” and
 7   citing U.S. EPA, Office of Research & Dev., Connectivity of Streams & Wetlands to Downstream
 8   Waters: A Review & Synthesis of the Scientific Evidence (Jan. 2015) (Connectivity Report)).
 9          The Connectivity Report, which examined over 1,200 peer-reviewed publications, states
10   that “scientific literature unequivocally demonstrates that streams, individually or cumulatively,
11   exert a strong influence on the integrity of downstream waters.” Connectivity Report, at ES-2.
12   “All tributary streams,” including ephemeral ones, “are physically, chemically, and biologically
13   connected to downstream rivers.” Id. “The incremental effects of individual streams and wetlands
14   are cumulative across entire watersheds and therefore must be evaluated in context with other
15   streams and wetlands.” Id. at ES-5. So the amount of water “contributed by a specific ephemeral
16   stream in a given year might be small, but the aggregate contribution of that stream over multiple
17   years, or by all ephemeral streams draining that watershed in a given year or over multiple years,
18   can have substantial consequences on the integrity of the downstream waters.” Id. As the
19   Agencies now largely concede, the NWPR ignored these fundamental principles. As a result, in
20   accordance with State Farm and Stewart, a remand with vacatur is appropriate.
21          The Agencies’ failure to consider the impact of the NWPR on water quality also violates
22   EPA’s National Environmental Policy Act (NEPA) regulations. These regulations, which were in
23   force at the time of the rulemaking, expressly state that the EPA’s “development and issuance of
24   regulations” are proposed actions subject to NEPA. 40 C.F.R. § 6.101 (2020).8
25
     Letter from Dr. Michael Honeycutt, Chair, Science Advisory Board, to Andrew R. Wheeler,
26   Administrator, U.S. EPA, Commentary on the Proposed Rule Defining the Scope of Waters
     Federally Regulated Under the Clean Water Act 4 (Feb. 27, 2020).
     8
27     Although the EPA was not required to perform an Environmental Impact Statement (EIS), 33
     U.S.C. § 1371(c) (2018), the Ninth Circuit has explained that NEPA’s obligations regarding “the
28   consideration of alternatives requirement is both independent of, and broader than, the EIS
     requirement.” Bob Marshall All. v. Hodel, 852 F.2d 1223, 1229 (9th Cir. 1988).
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 1          The EPA regulations identify the types of impacts the Agency must analyze when
 2   developing and issuing a regulation, such as the NWPR. Id. Generally, the EPA must consider
 3   “[t]he environmental impacts of the proposed action and alternatives[.]” Id. § 6.205(e)(iv). More
 4   specifically, the EPA must consider impacts to “environmentally important natural resource areas
 5   such as wetlands, floodplains, significant agricultural lands, aquifer recharge zones, coastal zones,
 6   barrier islands, wild and scenic rivers, and significant fish or wildlife habitat.” Id. § 6.204(b)(5).
 7   The Agencies failed to do so here and thus failed to comply with NEPA regulations. There is
 8   nothing in the record to suggest that the Agencies “seriously grappled with the bottom-line
 9   impact” of the NWPR on the integrity of the Nation’s waters. Stewart, 313 F. Supp. 3d at 263.
10   Indeed, the Agencies now emphasize that they
11          explicitly and definitively stated in numerous places in the NWPR administrative
            record that they did not rely on agency documents in the record that provided some
12          limited assessment of the effects of the rule on water quality in determining the
            scope of the definition of “waters of the United States.” See, e.g., 85 Fed. Reg. at
13          22,332, 22,335 (“[T]he final rule is not based on the information in the agencies’
            economic analysis or resource and programmatic assessment.”).
14

15          Pinkham Decl. ¶ 12; Fox Decl. ¶ 12. As was the case with the assessment of the NWPR’s
16   quantitative impact (reduction in waters protected), the Agencies cannot rely on the Resource and
17   Programmatic Assessment or Economic Analysis for a qualitative assessment. See supra n. 3.
18          In Municipality of Anchorage v. United States, the U.S. Court of Appeals for the Ninth
19   Circuit observed, in prescient fashion, that “it cannot be assumed that EPA will always be the
20   good guy.” 980 F.2d 1320, 1328 (9th Cir. 1992) (internal quotation marks omitted). The
21   Agencies’ refusal to consider the available science, and what that science demonstrated
22   concerning the magnitude of loss of jurisdictional waters under the NWPR, were serious
23   deficiencies. As the rulemaking record demonstrates and the Agencies now concede, the losses
24   are astounding, and the concomitant effect on the chemical, physical, and biological integrity of
25   the Nation’s waters cannot simply be ignored in the rulemaking process. Ignoring such data runs
26   directly counter to the mandates of State Farm and the EPA’s own regulations, a serious error
27   requiring vacatur of the NWPR.
28
                                                        8
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             Vacatur will not result in disruptive consequences for regulated entities; rather,
 1           vacatur will minimize the harmful consequences of the NWPR.
 2           As the Business Coalition observed in its Amici brief,9 the definition of “waters of the
 3   United States” has been subject to a “roller coaster of regulatory change”—in part because of
 4   challenges brought by regulated entities. E.g., Nat’l Ass’n of Mfrs. v. Dep’t of Def., 138 S. Ct. 617
 5   (2018) (challenging Clean Water Rule); Rapanos v. United States, 547 U.S. 715 (2006)
 6   (challenging Clean Water Act jurisdiction over non-navigable tributaries); Solid Waste Agency of
 7   N. Cook Cnty. v. U.S. Army Corps of Eng’rs, 531 U.S. 159 (2001) (challenging Clean Water Act
 8   jurisdiction based on the presence of migratory birds). To assist regulated entities, the Corps of
 9   Engineers “has long provided JDs [jurisdictional determinations] as a public service.” U.S. Army
10   Corps of Engineers, Regulatory Guidance Letter No. 16-01, at 1 (Oct. 2016). Upon request, the
11   Corps of Engineers will issue an approved jurisdictional determination, which is “a Corps
12   document stating the presence or absence of waters of the United States on a parcel or a written
13   statement and map identifying the limits of waters of the United States on a parcel.” 33 C.F.R. §
14   331.2 (2021). An approved jurisdictional determination, including a determination of no
15   jurisdiction, remains valid for five years. U.S. Army Corps of Engineers, supra, at 3. The
16   authority of the Corps of Engineers to recognize approved jurisdictional determinations for up to
17   five years is not a question before the Court. Accordingly, vacatur of the NWPR will have no
18   immediate impact on regulated entities that have received an approved jurisdictional
19   determination.
20           When weighing the equity of vacating an invalid rule, the Ninth Circuit “consider[s]
21   whether vacating a faulty rule could result in possible environmental harm.” Pollinator
22   Stewardship Council v. U.S. EPA, 806 F.3d 520, 532 (9th Cir. 2015). The Ninth Circuit has
23   approved remand without vacatur when vacating the rule would create a risk of serious
24   environmental harm. See, e.g., Cal. Cmties. Against Toxics, 688 F.3d at 992 (leaving EPA rule in
25   place because vacatur could lead to increased air pollution); Idaho Farm Bureau Fed’n, 58 F.3d
26   at 1405 (leaving U.S. Fish and Wildlife Service rule in place because vacatur could threaten
27
     9
28    Amici Curiae Brief of Business Coalition in Support of Agencies’ Motion to Remand Without
     Vacatur, August 6, 2021 (ECF 254).
                                                    9
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 1   extinction of snail species). In contrast, the Ninth Circuit has remanded with vacatur when
 2   allowing the invalid rule to remain in place would lead to environmental harm. Thus, in
 3   Pollinator Stewardship Council, the court vacated the EPA’s invalid Federal Insecticide,
 4   Fungicide, and Rodenticide Act registration of sulfoxaflor because of the threat to bee
 5   populations. 806 F.3d at 532.
 6          Here, vacating the NWPR would not result in environmental harm; rather, as the Agencies
 7   now recognize, continued application of the NWPR will result in unpermitted discharges of
 8   pollutants to waters previously protected by the Clean Water Act. See Pinkham Decl. ¶¶ 15-16;
 9   Fox Decl. ¶¶ 15-16. The Agencies report that “[o]f the 40,211 individual aquatic resources or
10   water features for which the Corps made approved jurisdictional determinations under the NWPR
11   between June 22, 2020 and April 15, 2021, approximately 76% were found to be non-
12   jurisdictional.” Pinkham Decl. ¶ 15; Fox Decl. ¶ 15. Accordingly, projects negatively affecting
13   the integrity of the Nation’s waters are moving forward with no or limited federal review.10
14          The NWPR’s impact in western states has been severe: “nearly every one” of more than
15   1,500 streams assessed are non-jurisdictional under the NWPR. Pinkham Decl. ¶ 16; Fox Decl. ¶
16   16. These findings are consistent with the results of the Saint Mary’s CWA Jurisdictional
17   Scenario Model, discussed in the Scientific Societies Brief, and peer-reviewed scientific
18   literature. See Kurt A. Fesenmyer et al., Large portion of USA streams lose protection with new
19   interpretation of Clean Water Act, 40 Freshwater Sci. (published online Feb. 10, 2021) (finding
20   that approximately 50% of the nation’s total stream miles are no longer protected under the Clean
21   Water Act as a result of the NWPR) (attached as Exhibit A). In light of these impacts to aquatic
22   resources and the public interest, equity favors vacatur of the NWPR.
23
     10
24      E.g., Proposed Arizona mine passes federal regulatory hurdle, AP News (Mar. 26, 2021),
     https://apnews.com/article/technology-arizona-army-tucson-
25   6a5e300936ae7073600d639f9929467b (reporting that “the U.S. Army Corps of Engineers
     decided that the [Rosemont mining] project no longer needs a Clean Water Act permit”); Steven
26   Munson & Desmond Butler, Trump rule eases effort to strip-mine near Okefenokee Swamp, The
     Washington Post (Nov. 25, 2020), https://www.washingtonpost.com/climate-environment/trump-
27   rule-eases-effort-to-strip-mine-near-okefenokee-swamp/2020/11/25/84ed10ba-229a-11eb-a688-
     5298ad5d580a_story.html (reporting that the Corps concluded that it “lacked jurisdiction over
28   376 acres of land within the mining site” on the edges of the Okefenokee National Wildlife
     Refuge).
                                                     10
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 1                                             CONCLUSION
 2            The Navigable Waters Protection Rule eliminates Clean Water Act protection for many
 3   aquatic ecosystems, thereby causing irreparable harm to all Americans who benefit from and rely
 4   on the integrity of the Nation’s waters. Science alone does not dictate Clean Water Act policy, but
 5   it is a critical cornerstone. The Agencies ignored available scientific tools and data, failing to
 6   consider the extent to which their actions reduced Clean Water Act jurisdiction and the extent to
 7   which the reduction in Clean Water Act jurisdiction would negatively affect water quality. As
 8   such, and for the foregoing reasons, Amici Curiae respectfully request that this Court grant a
 9   remand with vacatur.
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 1                                             APPENDIX A
 2                                     Descriptions of Amici Curiae
 3
     The American Fisheries Society (AFS) is the world’s oldest and largest organization dedicated
 4   to strengthening the fisheries profession, advancing fisheries science, and conserving fisheries
     resources. AFS has over 8,000 members from around the world, including fisheries managers,
 5   biologists, professors, ecologists, aquaculturists, economists, engineers, geneticists, and social
     scientists. AFS promotes scientific research and sustainable management of fisheries resources.
 6   The organization publishes five of the world’s leading fish journals and many renowned books,
     organizes scientific meetings, and encourages comprehensive education and professional
 7   development for fisheries professionals.

 8   The Association for the Sciences of Limnology and Oceanography (ASLO) has been the
     leading professional organization for researchers and educators in the field of aquatic science for
 9   more than 60 years. ASLO’s purpose is to foster a diverse, international scientific community that
     creates, integrates, and communicates knowledge across the full spectrum of aquatic sciences,
10   advances public awareness and education about aquatic resources and research, and promotes
     scientific stewardship of aquatic resources for the public interest.
11
     The Coastal and Estuarine Research Federation (CERF) is a multidisciplinary organization of
12   individuals who study and manage the structure and functions of estuaries and the effects of
     human activities on these environments. CERF’s members are dedicated to advancing human
13   understanding and appreciation of estuaries and coasts worldwide, to the wise stewardship of
     these ecosystems, and to making the results of their research and management actions available to
14   their colleagues and to the public.

15   The International Association for Great Lakes Research (IAGLR) is a scientific organization
     made up of researchers with a mission to advance understanding of the world’s great lake
16   ecosystems. IAGLR promotes all aspects of large lakes research and communicates research
     findings through publications and meetings. Its members encompass all scientific disciplines with
17   a common interest in the management of large lake ecosystems on many levels. IAGLR’s Journal
     of Great Lakes Research is a peer-reviewed publication with broad distribution.
18
     The North American Lake Management Society (NALMS) is a non-profit organization of
19   professionals and citizens. Founded in 1980, its mission is to forge partnerships among citizens,
     scientists, and professionals to foster the management and protection of lakes and reservoirs for
20   today and tomorrow. NALMS seeks to identify needs and encourage research on lake ecology
     and watershed management, facilitate the exchange of information on aspects of managing lakes
21   and their watersheds, promote public awareness of and encourage public support for management
     of lake ecosystems, offer guidance to agencies involved in management activities for lakes and
22   their watersheds, and provide a forum for professional development and training.
23   The Phycological Society of America (PSA) was founded in 1946 to promote research and
     teaching in all fields of phycology. PSA publishes the Journal of Phycology, the premier journal
24   of research on phycology, and the Phycological Newsletter. PSA holds annual meetings, often
     jointly with other national or international societies of mutual member interest. The society also
25   provides grants and fellowships to graduate student members.
26
     The Society for Ecological Restoration (SER) is a leading international organization working to
27   advance the science, practice, and policy of ecological restoration. Founded in 1988, SER works
     at the international, regional, and national levels, partnering with government agencies,
28   intergovernmental organizations, NGOs, and the private sector to advance the science, practice,
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     and policy of ecological restoration for the benefit of biodiversity, ecosystems, and humans. SER
 1   publishes the peer-reviewed bimonthly journal Restoration Ecology, as well as other resources
     and guidance regarding ecological restoration. SER has more than 4,000 members across the
 2   world including researchers, practitioners, decision-makers, indigenous people, and community
     leaders; its members are actively engaged in the ecologically sensitive repair and recovery of
 3   degraded ecosystems, including wetlands, rivers, and all types of freshwater and marine
     ecosystems.
 4
     The Society for Freshwater Science (SFS) is an international organization whose purpose is to
 5   promote further understanding of freshwater ecosystems (rivers, streams, lakes, reservoirs, and
     estuaries) and ecosystems at the interface between aquatic and terrestrial habitats (wetlands, bogs,
 6   fens, riparian forests, and grasslands). Its members study freshwater organisms, biotic
     communities, physical processes that affect ecosystem function, linkages between freshwater
 7   ecosystems and surrounding landscapes, habitat and water quality assessment, and conservation
     and restoration. SFS fosters the exchange of scientific information among its membership and
 8   with other professional societies, resource managers, policymakers, educators, and the public.
     The organization advocates for the use of best available science in policymaking and management
 9   of freshwater ecosystems.
10
     The Society of Wetland Scientists (SWS) is a leading professional association of wetland and
11   aquatic scientists around the world, including the United States. Established in 1980, SWS
     advances scientific and educational objectives related to wetland science and encourages
12   professional standards in all activities related to wetland science. The society has over 3,000
     members and publishes a peer-reviewed quarterly journal, Wetlands, concerned with all aspects
13   of wetland biology, ecology, hydrology, water chemistry, soil, and sediment characteristics. SWS
     supports the use of the best available scientific information in making decisions on the use and
14   management of wetland and aquatic resources.

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